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                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF NEW JERSEY


                                   FEE APPLICATION COVER SHEET

 Debtor:           Affiliated Physicians and Employers Applicant:
                   __________________________          Master Trust __________________________
                                                                    Genova Burns LLC

 Case No.:         21-14286
                   __________________________                 Client:          Debtor
                                                                               __________________________

 Chapter:                      11
                   __________________________                 Case Filed:      May 24, 2021
                                                                               __________________________



                                                SECTION 1
                                              FEE SUMMARY

 ☐ Interim Fee Application No.                 or ☐ Final Fee Application

                                                     FEES                      EXPENSES
 Total Previous Fee Requested:                       $ _______________
                                                       506,482.50                5,838.67
                                                                               $ _______________
 Total Fees Allowed To Date:                           496,482.50
                                                     $ _______________           5,838.67
                                                                               $ _______________
 Total Retainer (If Applicable)                      $ _______________           1,738.00
                                                                               $ _______________
 Total Holdback (If Applicable)                        0.00
                                                     $ _______________           0.00
                                                                               $ _______________
 Total Received By Applicant                           723,484.50
                                                     $ _______________           8,800.53
                                                                               $ _______________


  NAME OF PROFESSIONAL                          YEAR ADMITTED               HOURS         RATE        FEE
  & TITLE                                       (Or Years Of
                                                Professional Service)

  1. Daniel M. Stolz                                    1980                129.50      650-750    86,605.00
  2. William F. Megna                                   1985                134.10      625-695    89,356.50
  3. Patrick W. McGovern                                1980                 6.10        550.00     3,355.00
  4. Scott S. Rever                                     1994                 9.0        500-550     4,660.00
  5. Donald W. Clarke                                   2008                548.70      500-550    287,590.00
  6.                                                    2014                 .60         450.00     270.00
       Avi D. Kelin
  7. Matthew I. Baker                                   2013                41.90        400.00    16,760.00
 *TOTALS:

           Fee Totals:                               $ 510,451.50
                                                     __________________
           Disbursements Totals:                     $ 46,577.84
                                                     __________________
           Total Fee Application                     $ 557,029.34
                                                     __________________



 *See annexed schedule of Additional Counsel, Paralegals and Law Clerks for additional time.
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                                               SECTION II
                                           SUMMARY OF SERVICES

  SERVICES RENDERED                                                                     HOURS     FEE
  a) Asset Analysis and Recovery:
       Identification and review of potential assets including causes of action and
       non-litigation recoveries.                                                         2.70     1,876.50
  b) Asset Disposition
       Sales, leases, abandonment and related transaction work.
  c) Avoidance Action Litigation
       Preference and fraudulent transfer litigation.
  d) Business Operations
       Issues related to debtor-in-possession operating in chapter 11 such as
       employee, vendor, tenant issues and other similar problems.                        1.00     548.00
  e) Case Administration
       Coordination and compliance activities, including preparation of statement of
       financial affairs, schedules, list of contracts, United States Trustee interim
       statements and operating reports; contacts with the United States Trustee;
       general creditor inquires.                                                        842.40   454,294.00
  f) Claims Administration and Objections
       Specific claim inquiries; bar date motions; analyses, objections and allowance
       of claims.                                                                         7.30     4,839.50
  g) Employee Benefits/Pensions
       Review issues such as severance, retention, 401K coverage and continuance
       of pension plan.                                                                   7.20     3,795.00
  h) Fee/Employment Applications
       Preparations of employment and fee applications for self or others; motions to
       Establish interim procedures.                                                     31.50     7,329.00
  i)   Fee/Employment Objections
       Review of an objections to the employment and fee applications of others.          .20      150.00
  j)   Financing
       Matters under 361, 363 and 364 including cash collateral and secured clams;
       loan document analysis.                                                            1.10     764.50
  k) Litigation
       Other than Avoidance Action Litigation (there should be a separate category
       established for each major matter).                                               42.80    16,940.00
  l)   Meetings of Creditors
       Preparing for and attending the conference of creditors, the 341(a) meeting
       and other creditors’ committee meetings.                                          16.70    11,606.50
  m) Plan and Disclosure Statement
       Formulation, presentation and confirmation; compliance with the plan
       confirmation order, related orders and rules; disbursement and case closing
       activities, except those related to allowance and objections to allowance of
       claims.                                                                           13.90     8,308.50

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  SERVICES RENDERED                                                                     HOURS     FEE
  n) Relief from Stay Proceedings
       Matters relating to termination or continuation of automatic stay under 362.
  o) Accounting/Auditing
       Activities related to maintaining and auditing books of account, preparation
       of financial statements and account analysis.
  p) Business Analysis
       Preparation and review of company business plan; development and review of
       strategies; preparation and review of cash flow forecasts and feasibility
       studies.
  q) Corporate Finance
       Review financial aspects of potential mergers, acquisitions and disposition of
       company or subsidiaries.
  r) Data Analysis
       Management information systems review, installation and analysis,
       construction, maintenance and reporting of significant case financial data,
       lease rejection, claims, etc.
  s) Litigation Consulting
       Providing consulting and expert witness services related to various
       bankruptcy matters such as insolvency, feasibility, avoiding actions; forensic
       accounting, etc.
  t)   Reconstruction Accounting
       Reconstructing books and records from past transactions and brining
       accounting current.
  u) Tax Issues
       Analysis of tax issues and preparation of state and federal tax returns.
  v) Valuation
       Appraise or review appraisals of assets.
  w) Travel Time
  SERVICE TOTALS:                                                                        966.80   510,451.50




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                                            SECTION III
                                      SUMMARY OF DISBURSEMENTS

    DISBURSEMENTS                                                                      AMOUNT

    a)   Filing Fees
         Payable to Clerk of Court.                                                      350.00
    b)   Computer Assisted Legal Research
         Westlaw, Lexis and a description of manner calculated.                         2,337.08
    c)   Pacer Fees
         Payable to the Pacer Service Center for search and/or print.

    d)   Fax
         Include per page fee charged.

    e)   Case Specific Telephone/Conference Call Charges
         Exclusive of overhead charges.

    f)   In-house Reproduction Services
         Exclusive of overhead charges.                                                   2.40
    g)   Outside Reproduction Services
         Including scanning services.

    h)   Other Research
         Title searches, UCC searches, Asset searches, Accurint.

    i)   Court Reporting
         Transcripts.                                                                     54.30
    j)   Travel
         Mileage, tolls, airfare, parking.                                               212.00
    k)   Courier & Express Carriers
         Overnight and personal delivery.

    l)   Postage                                                                          1.06
    m) Other (specify)              litigation support, other professionals             43,621.00

    DISBURSEMENTS TOTAL:                                                               $46,577.84


 I certify under penalty of perjury that the above is true.


        April 11, 2022
 Date: _____________________________                            /s/ Daniel M. Stolz
                                                                ______________________________________
                                                                Signature


                                                                                                  rev. 10/1/15

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    SCHEDULE OF ADDITIONAL ATTORNEYS, PARALEGALS AND LAW CLERKS

         NAME                   TITLE        HOURS         RATE          TOTAL
  Gina M. Schneider      2006              12.00         $400.00     $4,800.00
  David Cerqueira        2021              3.00          $225.00     $675.00
  Lorrie Denson          Paralegal         75.40         $200.00     $15,080.00
  Katherine Szabo        Law Clerk         5.6           $200.00     $1,120.00
  Christopher Manley     Law Clerk         .90           $200.00     $180.00
